                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 20-42413

ADRIAN LYNETTE PIPKINS,                                       Chapter 7

                Debtor.                                       Judge Thomas J. Tucker

______________________________________/

           ORDER SETTING THE AMOUNT OF FEES THAT MUST BE PAID
                 BY THE DEBTOR TO THE CHAPTER 7 TRUSTEE,
          BASED ON THE COURT’S SEPTEMBER 9, 2020 CONTEMPT ORDER

        This case came before the Court on the Chapter 7 Trustee’s motion entitled “Motion for
Contempt of Court” (Docket # 44, the “Motion”). The Court held two hearings on the Motion,
on August 26, 2020 and on September 9, 2020. For the reasons stated by the Court on the record
during the second of those hearings, the Court entered an Order on September 9, 2020, entitled
“Order Granting the Chapter 7 Trustee’s Contempt Motion, and Holding the Debtor in Civil
Contempt of Court” (Docket # 59, the “Contempt Order”).

         As part of the relief ordered in the Contempt Order, the Court ordered the following:

                IT IS FURTHER ORDERED that the Debtor must pay to the
                Trustee’s attorneys, Stevenson & Bullock, P.L.C., the reasonable
                attorney fees and expenses incurred by the Trustee in preparing and
                prosecuting the Motion and in preparing and filing the affidavit of
                non-compliance on August 3, 2020 (Docket # 43). The amount of
                such fees and expenses will be determined in a later order. The
                procedures of L.B.R. 7054-1 (E.D. Mich.) will apply to the Court’s
                determination of the amount of such fees and expenses. The
                Trustee must file, and serve on the Debtor, an itemization of fees
                and expenses, no later than September 16, 2020. The Debtor then
                will have 14 days after service to file any objections to the
                itemization. If a timely objection is filed, the Court may schedule a
                hearing to determine the reasonable fees and expenses.

       The Trustee filed the required itemization of fees and expenses on September 9, 2020
(Docket # 61, the “Fee Itemization”). The Debtor’s deadline to file any objections to the Fee
Itemization was September 23, 2020. The Debtor has not filed any objection or other response to
the Fee Itemization.

         The Court has reviewed the Fee Itemization, which seeks fees of $2,145.00 and no



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expenses. The Court concludes that a hearing on the amount of fees sought by the Trustee is not
necessary. The Court will now rule on the matter.

         With respect to the time entries in the Fee Itemization, the Court finds that the attorney
time reflected in the itemization is a reasonable amount of time for the tasks performed, and that
all of the tasks performed as reflected in the itemization were reasonable and necessary under the
circumstances, and were reasonably incurred by the Trustee in preparing and prosecuting the
Contempt Motion and in preparing and filing the affidavit of non-compliance filed on August 3,
2020. The Court further finds that the hourly rate reflected for the Trustee’s attorney in the fee
itemization ($325.00 per hour) is a reasonable hourly rate.

       The “lodestar” fee amount, therefore, is equal to the total amount reflected in the
itemization, namely a reasonable fee totaling $2,145.00.

       Accordingly,

         IT IS ORDERED that no later than October 16, 2020, the Debtor must pay to the Chapter
7 Trustee, c/o of the Trustee’s attorneys, Stevenson & Bullock, P.L.C., the sum of $2,145.00. To
facilitate the Trustee’s ability to collect this sum, the following judgment is entered.

       IT IS FURTHER ORDERED that judgment is entered in favor of Michael Stevenson, the
Chapter 7 Trustee, and against the Debtor, Adrian Lynette Pipkins, in the amount of $2,145.00.

        IT IS FURTHER ORDERED that if and to the extent this sum is not paid in full on or
before October 16, 2020, then beginning immediately thereafter, the unpaid sum may be
collected by any means normally available under the law for collecting money judgments entered
by this Court.


Signed on October 2, 2020




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